        H
Filed 06/13/19                                                                 Case 19-12530                                                                           Doc 1



 United States Bankruptcy Court for the:                                                                                                       FILED
 EASTERN DISTRICT OF CALIFORNIA                                                                                                  l
                                                                                                                                             JUN 13 2019
 Case number    (if kno)            t      -          5                            Chapter you are filing under:

                                                                                   • Chapter 7
                                                                                                                                     UNITED STATES BANKRUPTC'l
                                                                                                                                      EASTERN DISrRICT OF GAUl
                                                                                   DChapterll
                                                                                   o Chapter 12                                                             (3TJ
                                                                                   o Chapter 13                                      0   Check if this an
                                                                                                                                         amended filing




 Official Form 101
 Voluntary Petition for Individuals Filina for Bankruotcv                                                                                                           12117
 The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same person must be Debtor I in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


UT          Identify Yourself

                                        About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

 1.   Your full name

      Write the name that is on         Marco                                                            Sonia
      your government-issued            First name                                                       First name
      picture identification (for
      example, your driver's
      license or passport).             Middle name                                                      Middle name
      Bring your picture
      identification to your            Franco                                                           Ruano
      meeting with the trustee.         Last name and Suffix (Sr., Jr., II, Ill)                         Last name and Suffix (Sr., Jr., II, Ill)




      All other names you have
      used in the last 8 years
      Include your married or
      maiden names.



      Only the last 4 digits of
      your Social Security
      number or federal                    x xx 3876                                                     xxx-xx-6688
      Individual Taxpayer
      Identification number
      (ITIN)




 Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 1
Filed 06/13/19                                                        Case 19-12530                                                                           Doc 1
 Debtor 1   Marco A. Franco
 Debtor 2   Sonia Ruano                                                                               Case number   (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):


 4. Any business names and
      Employer Identification
      Numbers (EIN) you have     U I have not used any business name or EIN5.                  U I have not used any business name or EIN5.
      used in the last 8 years

      Include trade names and    Business name(s)                                              Business name(s)
      doing business as names

                                                                                               EIN5




 5. Where you live                                                                             If Debtor 2 lives at a different address:

                                 3121 Almond Ave
                                 Madera, CA 93637
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Madera
                                                                                               County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




 6. Why you are choosing         Check one:                                                    Check one:
     this district to file for
      bankruptcy                 U                                                             •
                                       Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                 0     I have another reason.                                  0       I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
Filed 06/13/19                                                           Case 19-12530                                                                            Doc 1
 Debtor 1    Marco A. Franco
 Debtor 2    Rnnist P,inn                                                                                  Case number    (if known)




irmw        Tell the Court About Your Bankruptcy Case

     The chapter of the          Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 • Chapter 7
                                 o   Chapter 11
                                 o   Chapter 12
                                 o   Chapter 13



     How you will pay the fee    •        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                          order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                          a pre-printed address.
                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                          The Filing Fee in Installments (Official Form 1 03A).
                                 0        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                          but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                          applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                          the Appilcation to Have the Chapter 7 Filing Fee Waived (Official Form I 03B) and file it with your petition.



     Have you filed for          • No.
     bankruptcy within the
     last 8 years?               0 Yes.
                                               District                                  When                             Case number
                                               District                                 When                              Case number
                                               District                                  When                             Case number



     Areany bankruptcy               No
     cases pending or being
     filed by a spouse who is    0   Yes.
     not filing this case with
     you, or by a business
     partner, or by an
     affiliate?
                                               Debtor                                                                   Relationship to you
                                               District                                 When                            Case number, if known
                                               Debtor                                                                   Relationship to you
                                               District                                 When                            Case number, if known



     Doyourentyour
                                 UNo            Gotolinel2.
     residence?
                                 0 Yes.         Has your landlord obtained an eviction judgment against you?

                                                o         No. Go to line 12.

                                                o         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                          this bankruptcy petition.




 Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
Filed 06/13/19                                                          Case 19-12530                                                                         Doc 1
 Debtor I    Marco A. Franco
 Debtor 2    Sonia Ruano                                                                                      Case number   (if known)




Ifl1        Report About Any Businesses You Own as a Sole Proprietor

 12. Are you a sole proprietor
     of any full- or part-time      U No.       Goto Part 4.
     business?

                                    0 Yes.       Name and location of business

      A sole proprietorship is a
      business you operate as                    Name of business, if any
      an individual, and is not a
      separate legal entity such
      as a corporation,
      partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach
      it to this petition.                       Check the appmpriate box to describe your business:
                                                 o       Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                 O      Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                 O      Stockbroker (as defined in 11 U.S.C. § 101 (53A))

                                                 o      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                 o       None of the above

      Are you filing under          If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the             deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are       operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      youasmall business            in 11 U.S.C. 1116(1)(B).
      debtor?
                                    • No.        I am not filing under Chapter 11.
      For a definition of small
      business debtor, see 11
      U.S.C. § 101(51D).            o No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                Code.

                                    o Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


ITh         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

      Do you own or have any UNo
      property that poses or is
      alleged to pose a threat  0 Yes.
      of imminent and                         What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                     If immediate attention is
      immediate attention?                    needed, why is it needed?

      For example, do you own
      perishable goods, or
      livestock that must be fed,             Where is the property?
      or a building that needs
      urgent repairs?
                                                                             Number, Street, City, State & Zip Code




 Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
Filed 06/13/19                                                           Case 19-12530                                                                         Doc 1
 Debtor 1    Marco A. Franco
 Debtor 2    Sonia Ruano                                                                               Case number    (if known)


1Ffl1.      Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
 15. Tell the court whether          You must check one:                                           You must check one:
     you have received a             • I received a briefing from an approved credit               • I received a briefing from an approved credit
     briefing about credit               counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     counseling.                         filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency              any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check       o   I received a briefing from an approved credit             o   I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days alter you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your              o   I certify that I asked for credit counseling              0   I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                     0   I am not required to receive a briefing about             o   I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                         o     Incapacity.                                             o    Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                         o     Disability.                                             o    Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                         o     Active duty.                                            o    Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Filed 06/13/19                                                          Case 19-12530                                                                                  Doc 1
 Debtor 1   Marco A. Franco
 Debtor 2   Sonia Ruano                                                                                     Case number    (if known)


I1L Answer These Questions for Reporting Purposes

       What kind of debts do       1 6a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
       you have?                              individual primarily for a personal, family, or household purpose."

                                              o No. Go to line 1 6b.
                                              • Yes. Go to line 17.
                                   16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.

                                              o No. Go to line 1 6c.
                                              o Yes. Goto line 17.
                                   1 6c.      State the type of debts you owe that are not consumer debts or business debts




       Are you filing under        0   No.    I am not filing under Chapter 7. Go to line 18.
       Chapter 7?

       Do you estimate that                   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
                                   • Yes
       after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                • No
       are paid that funds will
       be available for                       0 Yes
       distribution to unsecured
       creditors?

       How many Creditors do       0   1-49                                         0   1,000-5,000                              0      25,001-50,000
       you estimate that you                                                        0   5001-10,000                              0      50,001-100,000
                                   • 50-99
       owe                                                                                                                       0
                                                                                    0   10,001-25,000                                   More thanl00,000

                                   o 200-999
       How much do you             • $0- $50,000                                    0 $1,000,001 -$10 million                    0      $500,000,001 -$1 billion
                   assets to                                                        0 $10,000,001 - $50 million                  0      $1,000,000,001 - $10 billion
                                   0 $50,001 - $100,000
                                   o $100,001 -$500,000                             0 $50,000,001 -$100 million                  0      $10,000,000,001 -$50 billion

                                   o $500,001 - $1 million                          0 $100,000,001 -$500 million                 0      More than $50 billion


       How much do you             0 $0- $50,000                                    0  $1,000,001 -$10 million                    0     $500,000,001 -$1 billion
       estimate your liabilities   0 $50,001 - $100,000                             0  $10,000,001 - $50 million                  0 $1,000,000,001 - $10 billion
       to be?                                                                                                                     0 $10,000,000,001 -$50 billion
                                    U $100,001 -$500,000                            0 $50,000,001 -$100 million
                                    o $500,001 - $1 million                         0 $100,000,001 - $500 million                 0 More than $50 billion


 Efl        Sign Below

  For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                    United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                    document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                    bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,


                                                                                                      Sonia Ruano
                                                                                                                                        jI)v1/T)
                                    Marco A. Franco
                                    Signature of Debtor 1                                             Signature of Debtor 2

                                    Executed on      May 31, 2019                                      Executed on     May 31, 2019
                                                     MM/DD/YYYY                                                        MM/DD/YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                           page 6
Filed 06/13/19                                                               Case 19-12530                                                                      Doc 1
 Debtor 1 Marco A. Franco
 Debtor 2 Sonia Ruano                                                                                        Case number   (if known)




 For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
 represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                 for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
 If you are not represented by and, in a casq in which § 707                      s, certify that! have no knowledge after an inquiry that the information in the
 an attorney, you do not need sch7              1e             etition is   e
 to file this page.
                                             ~
                                             /'
                                                                                                        Date       May 31, 2019
                                 Sig             Attorney for IS etfor                                             MM / DD / YYYY

                                    Clay Presley
                                    Printed name

                                    The Law Office of Clay E. Presley
                                    Firm name

                                    818 N Mountain Ste 101
                                    Upland, CA 91786      I
                                    Number, Street, City, State & ZIP Code

                                    Contact phone     909-856-7455                               Email address      claypresley @yahoo.com
                                    174277 CA
                                    Bar number & State




 Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                              page 7
Filed 06/13/19                                     Case 19-12530                                                               Doc 1




                                                            Certificate Number: 001 34-CAE-CC-03 2948622

                                                          IIIIIIIIIiIIIIIII 11111111 II li i IIIiIIII 1111111 HIlIlIl Il III
                                                                              00134-CAE-CC-032948622




                                CERTIFICATE OF COUNSELING


            I CERTIFY that on June 10, 2019, at 7:14 o'clock PM PDT, Sonia Ruano
            received from Cricket Debt Counseling, an agency approved pursuant to 11
            U.S.C. 111 to provide credit counseling in the Eastern District of California, an
            individual [or group] briefing that complied with the provisions of 11 U.S.C.
            109(h) and 111.
            A debt repayment pian was not prepared. If a debt repayment plan was prepared, a
            copy of the debt repayment plan is attached to this certificate.
            This counseling session was conducted by internet.




            Date: June 10, 2019                             By:       Is/Tiffany Terrell


                                                            Name: Tiffany Terrell


                                                            Title: Counselor




            * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
            Code are required to file with the United States Bankruptcy Court a completed certificate of
            counseling from the nonprofit budget and credit counseling agency that provided the individual
            the counseling services and a copy of the debt repayment plan, if any, developed through the
            credit counseling agency. See 11 U.S.C. 109(h) and 52 1(b).
Filed 06/13/19                                     Case 19-12530                                                               Doc 1




                                                            Certificate Number: 001 34-CAE-CC-03 29486 18

                                                          IIIIIIIIiIIIIIII 11111111 IIII III 1111111111 IIlIII I1H1I1II li i
                                                                               00134-CAE-CC-032948618




                                CERTIFICATE OF COUNSELING


            I CERTIFY that on June 10. 2019, at 7:13 o'clock PM PDT, Marco A. Franco
            received from Cricket Debt Counseling, an agency approved pursuant to 11
            U.S.C. 111 to provide credit counseling in the Eastern District of California, an
            individual [or group] briefing that complied with the provisions of 11 U.S.C.
            109(h) and 111.
            A debt repayment pian was not prepared. If a debt repayment plan was prepared, a
            copy of the debt repayment plan is attached to this certificate.
            This counseling session was conducted by internet.




            Date: June 10, 2019                             By:        Is/Tiffany Terre!!


                                                            Name: Tiffany Terre!!


                                                            Title: Counselor




            * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
            Code are required to file with the United States Bankruptcy Court a completed certificate of
            counseling from the nonprofit budget and credit counseling agency that provided the individual
            the counseling service and a copy of the debt repayment plan, if any, developed through the
            credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 06/13/19                                                                          Case 19-12530                                                                                                                   Doc 1


     Debtor 1                      Marco A. Franco
                                   First Name                      Middle Name                               Last Name

     Debtor 2                      Sofia Ruano
     (Spouse if, filing)           First Name                      Middle Name                               Last Name


     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                                                                        O Check if this is an
                                                                                                                                                                                          amended filing



    Official Form I O6Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                   12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

    I1I                Summarize Your Assets

                                                                                                                                                                                         IYr assets
                                                                                                                                                                                         [Value of what you ownJ

     1.     Schedule NB: Property (Official Form 1 06A/B)
            la. Copy line 55, Total real estate, from Schedule A/B               ................................................................................................          $                      0.00

            lb Copy line 62, Total personal property, from Schedule NB
                  .                                                                         .....................................................................................          $               16,800.00

            Ic. Copy line 63, Total of all property on Schedule A/B              ..............................................................................................     .      $               16,800.00
    ITiW               Summarize Your Liabilities

                                                                                                                                                                                         IYour liabilities
                                                                                                                                                                                         [Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 06D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                                          $                      0.00

     3.     Schedule E.'F: Creditors Who Have Unsecured Claims (Official Form 1 06E/F)
                      Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E,1. .................................                                        $                      0.00
                                                                                                                                                                  .


                      Copy the total claims from Part 2 (nonpnority unsecured claims) from line 6j of Schedule ElF.                                    ........... ................        $             292,171.00


                                                                                                                                                   Your total liabilities $                           292,171.00


    ITh                Summarize Your Income and Expenses

    4.      Schedule I: Your Income (Official Form 1061)
            Copy your combined monthly income from line 12 of Schedule I                        ................................................................................           $                 4,961.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule j                                                                                                                         $                 4,961.00

    •flW               Answer These Questions for Administrative and Statistical Records

            Are you filing for bankruptcy under Chapters 7, 11, or 13?
            0          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            • Yes
            What kind of debt do you have?


            •          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                       household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            o          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                 the court with your other schedules.
     Official Form 1 O6Sum            Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                 page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                                                            Best Case Bankruptcy
Filed 06/13/19                                                              Case 19-12530                                                                  Doc 1
     Debtor 1 Marco A. Franco
     Debtor 2 Sofia Ruano                                                                       Case number (if known)

           From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $       6,423.00


           Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:

                                                                                                             EiaIciaim
          [FQ!.art4n Schedulef/f, copy the foUowing:

           9a. Domestic support obligations (Copy line 6a.)                                                   $                0.00

               Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                0.00

               Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                0.00

               Student loans. (Copy line 6f.)                                                                 $                nAn

               Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                0.00

               Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                0.00


               Total. Add lines 9a through 9f.                                                           $                  0.00




    Official Form 1 O6Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
Filed 06/13/19                                                                   Case 19-12530                                                                              Doc 1


     Debtor 1                 Marco A. Franco
                              First Name                        Middle Name                    Last Name
     Debtor 2                 Sonia Ruano
     (Spouse, if filing)      First Name                        Middle Name                    Last Name

     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number                                                                                                                                 0     Check if this is an
                                                                                                                                                      amended filing



    Official Form 1 O6NB
    Schedule A/B: Property                                                                                                                           12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

    •an& Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?


       • No. Goto Part2.

       o Yes. Where is the property?
     •.          Describe Your Vehicles


    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
       • Yes


      3.1 Make:            Honda                                   Who has an interest in the property? Check one      Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
               Model:      Pilot                                   o Debtor 1 Only                                     Creditors Who Have Claims Secured by Property.
               Year:       2011                                    o Debtor 2 only                                     Current value of the      Current value of the
               Approximate mileage:               154000           • Debtor 1 and Debtor 2 only                        entire property?          portion you own?
               Other information:                                  o At least one of the debtors and another
                                                                   • Check If this is community property                        $6,000.00                    $6,000.00
                                                                     (see instructions)



      3.2 Make:            Honda                                   Who has an interest in the property? Check one      Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
               Model:      (iV1C                                   o Debtor 1 Only                                     Creditors Who Have Claims Secured by Property.
               Year:       1998                                    o Debtor 2 only                                     Current value of the      Current value of the
               Approximate mileage:               200000           • Debtor I and Debtor 2 Only                        entire property?          portion you own?
               Other information:                                  o At least one of the debtors and another
                                                                   • Check if this is community property                        $1,500.00                    $1,500.00
                                                                     (see instructions)




    Official Form 106A/B                                                      Schedule A/B: Property                                                                page 1
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Filed 06/13/19                                                                        Case 19-12530                                                                                                       Doc 1
     Debtor 1         Marco A. Franco
     Debtor 2         Sonia Ruano                                                                                                         Case number (if known)


      3.3 Make:          Toyota                                     Who has an interest in the property?                Check one
                                                                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                                                                                                      the amount of any secured claims on Schedule D:
             Model:      tacoma                                     o Debtor 1 only                                                                   Creditors Who Have Claims Secured by Property.
             Year:       1994                                       o Debtor 2 only                                                                   Current value of the         Current value of the
             Approximate mileage:                  200000           • Debtor 1 and Debtor 2 Only                                                      entire property?             portion you own?
             Other information:                                     o At least one of the debtors and another
                                                                    • Check If this is community property                                                            $1,000.00                $1,000.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories


           No
       o Yes

        Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
        pages you have attached for Part 2. Write that number here                       .............................................................................
                                                                                                                                                                         =>               $8,500.00


    Iflui       Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                                           Current value of the
                                                                                                                                                                                 portion you own?
                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                 claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
        • Yes. Describe       .....




                                        I Misc household goods                                                                                                   1                            $2,000.00


        Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                    including cell phones, cameras, media players, games
           No
        • Yes. Describe       .....




                                        I Misc electronics                                                                                                                                    $1,500.00


       Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
        •No
        o Yes. Describe
       Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
       DNo
        • Yes. Describe


                                        I misc sports and hoibby equipment                                                                                                                       $500.00


         Firearms
          Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
        o Yes. Describe       .....




    Official Form 1 06A/B                                                      Schedule A/B: Property                                                                                               page 2
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     Debtor I        Marco A. Franco
     Debtor 2        Sonia Ruano                                                                                                     Case number (if known)


          Clothes
          Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        ONo
        • Yes. Describe           .....




                                               I misc clothing                                                                                    I                        $1,500.00


          Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
            No
        • Yes. Describe           .....




                                               I misc jewelry                                                                                     I                        $1,500.00


          Non-farm animals
          Examples: Dogs, cats, birds, horses
            No
        o Yes. Describe           .....




          Any other personal and household items you did not already list, including any health aids you did not list
        •No
        0   Yes. Give specific information                  .....




            Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
            for Part 3. Write that number here                                                                                                                         $7,000.00



    •Ti       Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

          Cash
          Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        o No
        • Yes    ................................................................................ ................................




                                                                                                                                        Cash                                 $500.00


         Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
        ONo
        • Yes                                                          Institution name:


                                                   17.1.       Credit Union                              Golden One CU Acct #6852                                             $800.00


          Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
        o Yes                                                Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
         joint venture
        • No
        o Yes. Give specific information about them                             ...................


                                                       Name of entity:                                                                % of ownership:
    Official Form I 06A/B                                                                         Schedule A/B: Property                                                         page 3
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     Debtor 1         Marco A. Franco
     Debtor 2         Sonia Ruano                                                                                 Case number (if known)


         Government and corporate bonds and other negotiable and non-negotiable instruments
         Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
         Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        •No
        o Yes. Give specific information about them
                                               Issuer name:

         Retirement or pension accounts
         Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        UNo
        o Yes. List each account separately.
                                             Type of account:                  Institution name:

         Security deposits and prepayments
         Your share of all unused deposits you have made so that you may continue service or use from a company
         Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        •No
        0 Yes . .....................                                          Institution name or individual:

         Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        •No
        o Yes                           Issuer name and description.

        Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        • No
        o Yes    .............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

         Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        • No
        o Yes. Give specific information about them...

         Patents, copyrights, trademarks, trade secrets, and other intellectual property
         Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        UNo
        oYes. Give specific information about them...

         Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        • No
        o Yes. Give specific information about them...
    Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

         Tax refunds owed to you
        • No
        o Yes. Give specific information about them, including whether you already filed the returns and the tax years             .......




         Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        • No
        o Yes. Give specific information          ......




    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
        o Yes. Give specific information..
    Official Form 1 O6NB                                                   Schedule A/B: Property                                                               page 4
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Filed 06/13/19                                                                     Case 19-12530                                                                                          Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                                 Case number (if known)


           Interests in insurance policies
            Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
               No
          o Yes. Name the insurance company of each policy and list its value.
                                              Company name:                                                    Beneficiary:                                  Surrender or refund
                                                                                                                                                             value:

           Any interest in property that is due you from someone who has died
           If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
           someone has died.
          •No
          o Yes. Give specific information..
           Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           Examples: Accidents, employment disputes, insurance claims, or rights to sue
          •No
          0    Yes. Describe each claim .........

           Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
          SNO
          0 Yes. Describe each claim
           Any financial assets you did not already list
          •No
          o Yes. Give specific information..
              Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
              for Part 4. Write that number here ......................................................................................................................
                                                                                                                                                                          $1,300.00

     •.             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

           Do you own or have any legal or equitable interest in any business-related property?
          • No. Go to Part 6.
      o Yes. Go to line 38.

    ITIt            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                    If you own or have an interest in farmland, list it in Part 1.

    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
            U No. Go to Part7.
            0 Yes. Go to line 47.

    •ari                 Describe All Property You Own or Have an Interest in That You Did Not List Above

            Do you have other property of any kind you did not already list?
            Examples: Season tickets, country club membership
           • No
           0   Yes. Give specific information     .........




               Add the dollar value of all of your entries from Part 7. Write that number here                                                                                  $0.00




    Official Form 106AIB                                                      Schedule A/B: Property                                                                                 page 5
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     Debtor 1 Marco A. Franco
     Debtor 2 Sonia Ruano                                                                                                                      Case number (if known)

    U1il:            List the Totals of Each Part of this Form

     55.    Part 1: Total real estate, line 2 ......................................................................................................................                   $0.00
            Part 2: Total vehicles, line 5                                                                             $8,500.00
            Part 3: Total personal and household items, tine 15                                                        $7,000.00
            Part 4: Total financial assets, line 36                                                                    $1,300.00
           Part 5: Total business-related property, line 45                                                                   $0.00
            Part 6: Total farm- and fishing-related property, line 52                                                         $0.00
           Part 7: Total other property not listed, line 54                                             +                     $0.00

           Total personal property. Add lines 56 through 61...                                                       $16,800.00              Copy personal property total•      $16,800.00

           Total of all property on Schedule AIB. Add line 55 + line 62                                                                                                      $16,800.00




    Official Form 106A/13                                                                Schedule NB: Property                                                                          page 6
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Filed 06/13/19                                                                          Case 19-12530                                                                           Doc 1


     Debtor 1                        Marco A. Franco
                                     First Name                       Middle Name                   Last Name

     Debtor 2                        Sonia Ruano
     (Spouse if, filing)             First Name                       Middle Name                   Last Name

     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if krrown)
                                                                                                                                                o    Check if this is an
                                                                                                                                                     amended filing


    Official Form I 06C
    Schedule C: The Property You Claim as Exempt                                                                                                                           1119

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax.exempt retirement
    funds—may be unlimited in dollar amount However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount

    •ii              Identify the Property You Claim as Exempt

          Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           • You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           o You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
          For any property you list on Schedule NB that you claim as exempt, fill in the information below.

          B,ief description of the property anid line on                 Curreht value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                          portion you own
                                                                         Copy the value from    Check only one box for each exemption.
                                                                         Schedule A/B
          2011 Honda Pilot 154000 miles                                                                                                  C.C.P. § 703.140(b)(2)
                                                                                    $6,000.00 U                            $5,850.00
          Line from Schedule A/B: 3.1
                                                                                                o     100% of fair market value, up to
                                                                                                      any applicable statutory limit

          1998      Honda Civic 200000 miles                                                                                             C.C.P. § 703.140(b)(5)
                                                                                    $1,500.00   U                          $1,500.00
          Line from Schedule A/B: 3.2
                                                                                                o     100% of fair market value, upto
                                                                                                      any applicable statutory limit

          1994 Toyota tacoma 200000 miles                                                                                                C.C.P. § 703.140(b)(5)
                                                                                    $1,000.00 U
          Line from Schedule A/B: 3.3
                                                                                                o     100% of fair market value, upto
                                                                                                      any applicable statutory limit

          Misc household goods                                                                                                           C.C.P. § 703.140(b)(3)
                                                                                    $2,000.00   •                          $2,000.00
          Line from Schedule A/B: 6.1
                                                                                                o     100% of fair market value, up to
                                                                                                      any applicable statutory limit

          Misc electronics                                                                                                               C.C.P. § 703.140(b)(3)
                                                                                    $1,500.00   U                          $1,500.00
          Line from Schedule A/B: 7.1
                                                                                                o     100% of fair market value, up to
                                                                                                      any applicable statutory limit




    Official Form 1 06C                                           Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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                                                                                                                                                              Best case Bankruptcy
Filed 06/13/19                                                                  Case 19-12530                                                                               Doc 1
    Debtor 1    Marco A. Franco
    Debtor 2    Sofia Ruano                                                                                 Case number (if known)

         Brief description of the property and line on            Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                    portion you own
                                                                  Copy the value from    Check only one box for each exemption.
                                                                  Schedule A/B

         misc sports and hoibby equipment                                                                             $500.00        C.C.P. § 703.140(b)(5)
                                                                            $500.00      N
         Line from Schedule A/B: 9.1
                                                                                         0    100% of fair market value, upto
                                                                                              any applicable statutory limit


         misc clothing                                                                                              $1,500.00        C.C.P. § 703.140(b)(3)
                                                                          $,
         Line from Schedule A/B: 11 .1
                                                                                         0    100% of fair market value, up to
                                                                                              any applicable statutory limit


         misc jewelry                                                                                               $1,500.00        C.C.P. § 703.1 40(b)(4)
                                                                          $1,500.00      U
         Line from Schedule A/B: 12.1
                                                                                         0    100% of fair market value, up to
                                                                                              any applicable statutory limit


         Cash                                                                                                          $500.00 C.C.P.§ 703.140(b)(5)
                                                                            $500.00      U
         Line from Schedule A/B: 16.1
                                                                                         0 100% of fair market value, up to
                                                                                             any applicable statutory limit


         Credit Union: Golden One CU Acct                                                                              $800.00 C.C.P. § 703.140(b)(5)
                                                                            $800.00      U
         Line from Schedule A/B: 17.1                                                    0     100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment)
          •No
          o     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                o      No
                o      Yes




     Official Form 1 06C                                    Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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Filed 06/13/19                                                               Case 19-12530                                                                            Doc 1


     Debtor I                Marco A. Franco
                             First Name                        Middle Name            Last Name

     Debtor 2                Sonia Ruano
     (Spouse if, filing)     First Name                        Middle Name           Last Name


     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                      0   Check if this is an
                                                                                                                                          amended filing

    Official Form I 06D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                               12115

    Be as complete and accurate as possible. If two mamed people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?

           • No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           0   Yes. Fill in all of the information below.




    Official Form I 06D                             Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 1
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Filed 06/13/19                                                                     Case 19-12530                                                                                             Doc 1


    Debtor I                  Marco A. Franca
                              First Name                        Middle Name                          Last Name

    Debtor 2                  Sonia Ruano
    (Spouse if, fiting)       First Name                        Middle Name                          Last Name


    United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

    Case number
    (if known)
                                                                                                                                                        o    Check if this   is an
                                                                                                                                                             amended filing


    Official Form I06EIF
    Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form I06AIB) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
    ITh             List All of Your PRIORITY Unsecured Claims
     1.   Do any creditors have priority unsecured claims against you?

          • No. Go to Part 2.
          o Yes.
    imw             List All of Your NONPRIORITY Unsecured Claims
          Do any creditors have nonpriority unsecured claims against you?

          o No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          • Yes.

          List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
          unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
          than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured claims fill out the Continuation Page of
          Part 2.
                                                                                                                                                                 Total claim

                 Amex Dsnb                                               Last 4 digits of account number         7414                                                                $0.00
                 Nonpriority Creditors Name
                                                                                                                 Opened 12120107 Last Active
                 Po Box 8218                                             When was the debt incurred?             3122113
                 Mason, OH 45040
                 Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.

                 • Debtor 1 only                                         O Contingent
                 o Debtor 2 Only                                         o Unliquidated
                 o Debtor 1 and Debtor 2 only                            o Disputed
                 o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                 o Check if this claim is for a community                O    Student loans
                 debt                                                    o Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                         report as priority claims

                 • No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                   • Other. Specify      Credit Card




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 21
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Filed 06/13/19                                                                         Case 19-12530                                                                             Doc 1
     Debtor 1 Marco A. Franco
     Debtor 2 Sonia Ruano                                                                                        Case number (if known)

               Bank Of America                                               Last 4 digits of account number       3141                                                  $0.00
               Nonpriority Creditors Name
                                                                                                                   Opened 09114 Last Active
               Po Box 982238                                                 When was the debt incurred?           5131/17
               El Paso, TX 79998
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               • Debtor 2 only                                               o Unliquidated
               o Debtor I and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      0 Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               •No                                                           o Debts to pension or profit-sharing plans, and other similar debts
               Dyes                                                          U Other. Specify Credit Card

               Barclays Bank Delaware                                        Last 4 digits of account number       2946                                                  $0.00
               Nonpriority Creditors Name
                                                                                                                   Opened 09/15 Last Active
               P.o. Box 8803                                                 When was the debt incurred?           8120118
               Wilmington, DE 19899
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               • Debtor 2 only                                               o Unhiquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U Othe, Specify Credit Card


               Capl/bstby                                                    Last 4 digits of account number       6059                                                  $0.00
               Nonpriority Creditors Name
                                                                                                                   Opened 10120107 Last Active
               P0 Box 30253                                                  When was the debt incurred?           6107109
               Salt Lake City, UT 84130
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims
               UNo                                                           0 Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Charge Account




    Official Form 106 E/F                                        Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 2 of 21
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Filed 06/13/19                                                                     Case 19-12530                                                                              Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                     Case number (if known)

              Cavalry Portfolio Serv                                     Last 4 digits of account number       4403                                                $481.00
               Nonpriority Creditor's Name
              Po Box 27288                                               When was the debt incurred?           Opened 02119
              Tempe, AZ 85285
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                          O Contingent
               o Debtor 2 Only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              '0   Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  O    Student loans
              debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                            report as priority claims

                  No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               DYes                                                                            Collection Attorney Synchrony Bank
                                                                         I Other. Specky
              Cbna                                                       Last 4 dIgits of account number       6498                                                   $0.00
               Nonpriority Creditor's Name
                                                                                                               Opened 9128114 Last Active
                o Box 6497                                               When was the debt incurred?           9112/15
               Sioux Falls, SD 57117
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one
               0 Debtor 1 Only                                           O Contingent
               • Debtor 2 Only                                           o Unhiquidated
               o Debtor 1 and Debtor 2 Only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
              debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
               UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U    Other. Specty    Charge Account


         jj   Chase Card                                                 Last 4 digits of account number       9841                                             $1,681.00
               Nonpriority Creditor's Name
                                                                                                               Opened 07105 Last Active
              Po Box 15369                                               When was the debt incurred?           3115117
              Wilmington, DE 19850
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                           o Contingent
               o Debtor 2 only                                           O    Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U    Other. Speciry   Credit Card




    Official Form 106 ElF                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 21
    Software Copyright (C) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 06/13/19                                                                         Case 19-12530                                                                             Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                         Case number      (if


               Citilcbna                                                     Last 4 digits of account number       7420                                                  $0.00
               Nonpriority Creditor's Name
                                                                                                                   Opened 4/03109 Last Active
               Po Box 6497                                                   When was the debt incurred?           4/08/10
               Sioux Falls, SD 57117
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      0   Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               is the ciaim subject to offset?                               report as priority claims

                   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U   Other. Specify    Charge Account


               Comenity Banklbuckle                                          Last 4 digits of account number       5972                                                  $0.00
               Nonpriority Creditor's Name
                                                                                                                   Opened 10/12 Last Active
               Po Box 182789                                                 When was the debt incurred?           8I01115
               Columbus, OH 43218
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one
               0   Debtor 1 only                                             o Contingent
               • Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               •No                                                           o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Charge Account



    0-1   1    Comenity Bank/buckle
               Nonpriority Creditor's Name
                                                                             Last 4 digits of account number       8338                                                  $0.00

                                                                                                                   Opened 06111 Last Active
               Po Box 182789                                                 When was the debt incurred?           4101112
               Columbus, OH 43218
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                               O   Contingent
               o Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Charge Account




    Official Form 106 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 21
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Filed 06/13/19                                                                    Case 19-12530                                                                              Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                     Case number (if known)

    4.1
     _j Comenity Bank/justice                                            Last 4 digits of account number       1541                                                  $0.00
              Nonpnority Creditor's Name
                                                                                                               Opened 07/14 Last Active
              Po Box 182789                                              When was the debt Incurred?           7/01116
              COlumbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              • Debtor 1 only                                            o Contingent
              o Debtor 2 only                                            o Unliquidated
              o Debtor 1 and Debtor 2 only                               o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              o Check If this claim is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce That you did not
              Is the claim subject to offset?                            report as priority claims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify    Charge Account



    211    Comenitybank/hottopic                                         Last 4 digIts of account number       8986                                                  $0.00
               Nonrioritv Creditor's Name
                                                                                                               Opened 09118 Last Active
              P0 Box 182789                                              When was the debt Incurred?           9108118
              Columbus, OH 43218
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                           O   Contingent
               • Debtor 2 only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  0   Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify    Charge Account



    F
    4.1
              Comenitybank/ny&co
               Nonpriority Creditor's Name
                                                                         Last 4 dIgits of account number       7961                                              $464.00

                                                                                                               Opened 04118 Last Active
              Po Box 182789                                              When was the debt incurred?           9/01118
              Columbus, OH 43218
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                           o Contingent
               • Debtor 2 only                                           O   Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify    Charge Account




    Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 5 of 21
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Filed 06/13/19                                                                         Case 19-12530                                                                            Doc 1
     Debtor I Marco A. Franco
     Debtor 2 Sonia Ruano                                                                                        Case number (e known)

    4.1
               Comenitybanklny&co                                            Last 4 digits of account number       2999                                                  $0.00
               Nonpriority Creditor's Name
                                                                                                                   Opened 1108109 Last Active
               Po Box 182789                                                 When was the debt incurred?           1117117
               Columbus, OH 43218
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 Only                                               0    Contingent
               o Debtor 2 only                                               o Unliquidated
               • Debtor 1 and Debtor 2 only                                  O    Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U    Other. Specify   Charge Account



               Comenitybank/victoria                                         Last 4 digits of account number       2361                                                  $0.00
               Nonpriority Creditor's Name
                                                                                                                   Opened 10125113 Last Active
                                                                             When was the debt incurred?           9/17/16

               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               • Debtor 2 Only                                               o Unhiquidated
               o Debtor 1 and Debtor 2 only                                  O    Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               rport as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U    Other. Specify   Charge Account



    F4.1
               Comenitybanklvictoria
               Nonpriority Creditor's Name
                                                                              i
                                                                             Last 4 digits of account number        1120                                                 $0.00

                                                                                                                   Opened 09107 Last Active
               Po Box 182789                                                 When was the debt incurred?           2121111
               Columbus, OH 43218
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               0   Debtor 1 only                                             o Contingent
               U   Debtor 2 Only                                             o Unhiquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check If this claim is fora community                       o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims
               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Charge Account




    Official Form 106 ElF                                        Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 6 of 21
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Filed 06/13/19                                                                    Case 19-12530                                                                             Doc 1
     Debtor I Marco A. Franco
     Debtor 2 Sonia Ruano                                                                                    Case number (if known)


               Comenitybanklvictoria                                     Last 4 digits of account number       6835                                                  $0.00
               Nonpriority Creditors Name
                                                                                                               Opened 06109 Last Active
               Po Box 182789                                             When was the debt incurred?           7/31/09
               Columbus, OH 43218
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                           o COntingent
               o Debtor 2 only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify    Charge Account



    F
    4.1
               Dsnb Macys
               Nonpriority Creditors Name
                                                                         Last 4 digits of account number       0480                                                  $0.00

                                                                                                               Opened 12/21113 Last Active
               Po Box 8218                                               When was the debt incurred?           4121117
               Mason, OH 45040
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                           o Contingent
               o Debtor 2 only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify    Charge Account


    4.1
    [j Dsnb Macys                                                        Last 4 digits of account number       8230                                                  $0.00
               Nonpriority Creditor's Name
                                                                                                               Opened 12/20107 Last Active
               Po Box 8218                                               When was the debt incurred?           7117109
               Mason, OH 45040
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor I only                                           o Contingent
               o Debtor 2 only                                           o Unhiquidated
               o Debtor I and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify      Charge Account




    Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 7 of 21
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Filed 06/13/19                                                                     Case 19-12530                                                                             Doc 1
     Debtor 1 Marco A. Franco
     Debtor 2 Sonia Ruano                                                                                    Case number (e known)

    F
    42
               Dsnb Macys                                                Last 4 digIts of account number       6870                                                  $0.00
               Nonprionty Creditor's Name
                                                                                                                Opened 9119/06 Last Active
               Po Box 8218                                               When was the debt incurred?            9i14/16
               Mason, OH 45040
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one
               0 Debtor 1 only                                           o Contingent
               U Debtor 2 only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
                   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               o   Check if this claim is for a community                o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                   No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U Other.   Specify    Charge Account


    4. 2
               Franklin Collection Sv                                    Last 4 digIts of account number       2597                                               $483.00
               Nonpriority Creditor's Name
               2978 W Jackson St                                         When was the debt incurred?           Opened 01/19
               Tupelo, MS 38801
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 Only                                           o Contingent
               • Debtor 2 Only                                           o Unliquidated
               o DebtOr 1 and DebtOr 2 Only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is fora community                   o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority daims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U Other.   Specify   Collection Attorney At T


    ~
    4.2]
               I C System Inc                                            Last 4 digits of account number       2745                                               $100.00
               Non priority Creditor's Name
              Po Box 64378                                               When was the debt incurred?           Opened 11117
              Saint Paul MN 55164
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                           o Contingent
               O Debtor 2 only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim Is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
               •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify     Collection Attorney Sprint




    Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 8 of 21
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Filed 06/13/19                                                                            Case 19-12530                                                                             Doc 1
     Debtor 1 Marco A. Franco
     Debtor 2 Sonia Ruano                                                                                             Case number (ii known)


    F _j       Kohlslcapone
               Nonpriority Creditofs Name
                                                                                 Last 4 dIgits of account number        5562                                           $1,232.00

                                                                             •                                          Opened 08/11 Last Active
               P0 Box 3115                                                   When was the debt incurred?                12131/18
               Milwaukee, WI 53201
               Number Street City State Zip Code                                 As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one
               0   Debtor 1 only                                                 O   Contingent
               • Debtor 2 only                                                   O   unliquidated
               o Debtor I and Debtor 2 only                                      O   Disputed
               o At least one of the debtors and another                         Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                          P   Student loans
               debt                                                              o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                   report as priority claims

               UNo                                                               o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                             I   Other. Specify    Charge Account


     4.2
               Kohislchase                                                       Last 4 dIgits of account number        3852                                                 $0.00
               Nonpriority Creditor's Name
                                                                                                                        Opened 12/06 Last Active
               Po Box. 15369                                                 When was the debt Incurred?                4104107
               Wilmington, DE 19850
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                                   O   Contingent
               o Debtor 2 only                                                   o Unhiquidated
               o Debtor 1 and Debtor 2 only                                      o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                          o Student loans
               debt                                                              o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims
               •No                                                               O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                             • Other. Specify      Charge Account


               Lvnv Funding LIc                                              Lást4digitsofaccountnumber                 6170                                                 $0.00
               Nonpriority Creditor's Name
                                                                                                                        Opened 11/28/16 Last Active
               Clo Resurgent Capital Services                                When was the debt Incurred?                1110/18
               Greenville, SC 29602
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                                       CóAtirigéht
               • Debtor 2 only                                                   O   Unliquidated
               o Debtor 1 and Debtor 2 only                                      o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check If this claim is for a community                          o Student loans
               debt                                                              o Obligations arising out of a separation agreement or divorce that you did not
               Is the claIm subject to offset?                               report as priority daims
               •No                                                               O   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                       Factoring Company Account Synchrony
               0 Yes                                                             • Other. Specify      Bank Jcp Credit Card




    Official Form 106 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 9 of 21
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Filed 06/13/19                                                                        Case 19-12530                                                                            Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                        Case number (it known)

    [4Z]
              Medvetta Fin                                                  Last 4 digIts of account number        8596                                             $311.00
              Nonpriority Creditors Name
              316 W Yosemite                                                When was the debt incurred?            Opened 5124117
              Madera, CA 93637
              Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               N   Debtor 1 only                                            o Contingent
               o Debtor 2 only                                              o Unliquidated
               o Debtor 1 and Debtor 2 only                                 o Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                     o Student loans
              debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                               report as priority claims

                   No                                                       O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                        1 Other. Specify      Ss Samrao Md


               Midland Funding                                              Last 4 dIgits of account number        8811                                           $7,928.00
               Nonpriority Creditor's Name
               350 Camino De La Reina S                                     When was the debt Incurred?            Opened 01/18
               San Diego, CA 92108
               NUthbe(StreetCifyStateZipCode                                As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                              o Contingent
               o Debtor 2 only                                              o Unliquidated
               o Debtor 1 and Debtor 2 only                                 o Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                     O   Student loans
               debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims
               N   No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        • Other. Specify      Factoring Company Account Citibank N.A.



    E4I        Midland Funding
               Nonpriority Creditor's Name
                                                                            Last 4 digits of account number        6762                                           $1,959.00

               350 Camino De La Reina S                                     When was the debt Incurred?            Opened 01117
               San Diego, CA 92108
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                              o Contingent
               1   Debtor 2 only                                            O   Unliquidated
               o Debtor 1 and Debtor 2 only                                 O   Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                     o Student loans
               debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                  Factoring Company Account Synchrony
               0 Yes                                                        • Other. Specify      Bank




    Official Form 106 ElF                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 21
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Filed 06/13/19                                                                         Case 19-12530                                                                            Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                         Case number (if known)

    4.2
               Midland Funding                                               Last 4 digIts of account number       2543                                              $641.00
               Nonpriority Creditor's Name
              350 Camino De La Reina S                                       When was the debtincurred?            Opened 08117
              San Diego, CA 92108
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.

               • Debtor 1 only                                               0   Contingent
               o Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim Is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                   Factoring Company Account Comenity
               0 Yes                                                         • Other. Specify      Bank


    4.3
               NatonstarImr Cooper                                           Last 4 digits of account number       4036                                        $261,859.00
               Nonpriority Creditor's Name
                                                                                                                   Opened 08106 Last Active
               8950 Cypress Waters Blvd                                      When was the debt incurred?           4126119
               Coppell, TX 75019
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unhiquidated
               • Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U   Other. Specify    Real Estate Mortgage


    4.3
               Nordstrom/td Bank Usa                                         Last 4 dIgits of account number       9853                                              $540.00
               Nonpriority Creditor's Name
                                                                                                                    Opened 07110 Last Active
               13531 E Caley Ave                                             When was the debt incurred?            2I21I16
               Englewood, CO 80111
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               • Debtor 2 only                                               o Unhiquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Credit Card




    Official Form 106 E/F                                        Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 11 of 21
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Filed 06/13/19                                                                     Case 19-12530                                                                            Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                     Case number (if

    4.3
              Portfolio Recov Assoc                                      Last 4 digits of account number       6059                                            $2,538.00
              Nonpriority Creditors Name
              120 Corporate Blvd Ste I                                   When was the debt incurred?            Opened 11118
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              • Debtor 1 only                                            o Contingent
              o Debtor 2 only                                            o Unhiquidated
              O    Debtor 1 and Debtor 2 only                            o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                      U Other. Specify Factoring Company Account Citibank N.A.

    4.3
              !'rtfoho Recov Assoc                                       Last4digits of account number          8342                                           $2,315.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste I                                   When was the debt incurred?            Opened 12114
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                           o Contingent
               o Debtor2 only                                            o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if-this claim-is for a -community                 o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
               UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                               Factoring Company Account Synchrony
               0 Yes                                                     • Other. Specify      Bank


    4.3
              Portfolio Recov Assoc                                      Last 4 digits of account number        8903                                           $1,408.00
               Nonpriority Creditor's Name
              120 Corporate Blvd Ste I                                   When was the debt incurred?            Opened 12/16
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                           0 Contingent
              -. Debtor 2 only                                           0 Unliquidated
               o Debtor 1 and Debtor 2 only                              0 Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  P Student loans
              debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not

               •
              Is the claim subject to offset?

                   No
                                                                         report as priority claims
                                                                         0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                               Factoring Company Account Synchrony
               o Yes                                                     U   Other. Specify    Bank




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12 of 21
    Software Copyiight (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 06/13/19                                                                    Case 19-12530                                                                             Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                    Case number (f known)


              Portfolio Recov Assoc                                     Last 4 digits of account number       7263                                              $615.00
              Nonprionty Creditor's Name
              120 Corporate Blvd Ste I                                  When was the debt incurred?            Opened 12116
              Norfolk, VA 23502
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              • Debtor 1 Only                                           o Contingent
              o Debtor 2 only                                           o Unliquidated
              o Debtor 1 and Debtor 2 only                              0   Disputed
              o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                  o Student loans
              debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

              •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account Comenity
              0 Yes                                                     • Other. Specify      Bank


    4.3
              Portfolio Recov Assoc                                     Last 4 digits of account number        1843                                             $437.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste I                                  When was the debt incurred?            Opened 01117
              Norfolk, VA 23502
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                           o Contingent
              • Debtor2 only                                            o Unliquidated
              o Debtor 1 and Debtor 2 only                              o Disputed
              o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                  o Student loans
              debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

              • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account Synchrony
              0 Yes                                                     • Other. Specify      Bank


    4.3
              S M ClDaniels Jewelers                                    Last 4 digits of account number        8000                                                 $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 04109 Last Active
              Po Box 3750                                               When was the debt incurred?            12/01109
              Culver City, CA 90231
              Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one
              0   Debtor 1 only                                         o Contingent
              • Debtor 2 only                                           O   Unliquidated
              o Debtor 1 and Debtor 2 only                              o Disputed
              o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                  o Student loans
              debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

              • No                                                      O   Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                     • Other. Specity      Charge Account




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Filed 06/13/19                                                                         Case 19-12530                                                                             Doc 1
       Debtor I     Marco A. Franco
       Debtor 2    Sofia Ruano                                                                                   Case number (if known)


   [   4~.
       8 3
       8         Syncb!amer Eagle                                            Last 4 dIgits of account number       1003                                                 $0.00
                 Nonpriority Creditor's Name
                                                                                                                   Opened 04108 Last Active
                 Po Box 965005                                               When was the debt incurred?           6113/08
                 Orlando, FL 32896
                 Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 o Debtor I only                                             0 Contingent
                 • Debtor2 only                                              o Unhiquidated
                 o Debtor 1 and Debtor 2 only                                o Disputed
                 o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:
                 o Check if this claim is for a community                    O Student loans
                 debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                     No                                                      O Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                       • Other. Specify Charge Account


    F
    4.3
                 Syncblbanana Rep                                            Last 4 digIts of account number       2630                                                  $0.00
                 Nonpriority Creditor's Name
                                                                                                                   Opened 10107 Last Active
                 Po Box 965005                                               When was the debt incurred?           3/14/08
                 Orlando, FL 32896
                 Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 o Debtor I only                                             o Contingent
                 • Debtor 2 only                                             o Unliquidated
                 o Debtor 1 and Debtor 2 only                                O Disputed
                 o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                 o Check If this claim is for a community                    o Student loans
                 debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                  •No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                       • Other. Specify      Charge Account


    F
    44
                 Syncblcar Care 4 WhI P                                      Last 4 digits of account number        7873                                                 $0.00
                 Nonpriority Creditor's Name
                                                                                                                    Opened 11107/08 Last Active
                 Clo Po Box 965036                                           When was the debt incurred?            3/28114
                 Orlando, FL 32896
                  Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.

                  • Debtor I only                                            O   Contingent
                  o Debtor 2 only                                            o Unliquidated
                  o Debtor 1 and Debtor 2 only                               o Disputed
                  o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                  o Check if this claim is for a community                   o Student loans
                 debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                  UNo                                                        0 Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                      • Other. Specify      Charge Account




    Official Form 106 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 14 of 21
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Filed 06/13/19                                                                           Case 19-12530                                                                             Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                            Case number (if known)

    F
    44                                                                                                                 8903
     _j Syncblgap                                                           Last 4 digits of account number                                                                 $0.00
               Nonpriority Creditor's Name
                                                                            I                                          Opened 07108 Last Active
               Po Box 965005                                                When was the debt incurred?                4108/16
               Orlando, FL 32896
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one
               0 Debtor 1 only                                              o Contingent
               • Debtor 2 only                                              o Unliquidated
               o Debtor 1 and Debtor 2 only                                 o Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               o Check if this claim is fora community                          o Student loans
               debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               • No                                                             O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                            I   Other. Specify    Charge Account



    F   41
               Syncb/gap
               Nonpriority Creditor's Name
                                                                            Last 4 digits of account number            7210                                                 $0.00

                                                                                                                       Opened 11109/11 Last Active
               Po Box 965005                                                When was the debt incurred?                4108115
               Orlando, FL 32896
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               N   Debtor 1 only                                                o Contingent
               o Debtor 2 only                                                  O   Unliquidated
               o Debtor 1 and Debtor 2 only                                     o Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                         o Student loans
               debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               • No                                                             O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                            N   Other. Specify    Charge Account


    [4j7
      .4                                                                                                               5546
               Syncb!gap                                                    Last 4 digits of account number                                                                 $0.00
           ]
               Nonpriority Creditor's Name
                                                                                                                       Opened 4/07/09 Last Active
               Po Box 965005                                                When was the debt incurred?                7/19/10
               Orlando, FL 32896
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               N   Debtor 1 only                                                o Contingent
               o Debtor 2 only                                                  O   unliquidated
               o Debtor I and Debtor 2 only                                     o Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                         o Student loans
               debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                  report as priority claims

               • No                                                             o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                            N   Other. Specify    Charge Account




    Official Form 106 E/F                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 15 of 21
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Filed 06/13/19                                                                     Case 19-12530                                                                             Doc 1



         1
     Debtor   1 Marco A. Franco
     Debtor   2 Sofia Ruano                                                                                  Case number (s known)

     ~
    [4 .4
              Syncblikea                                                 Last 4 digits of account number       0364                                                  $0.00
              Nonpriority, Creditor's Name
                                                                                                               Opened 07107 Last Active
              Po Box 965005                                              When was the debt incurred?           8130107
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              • Debtor 1 Only                                            o Contingent
              o Debtor2 only                                             o Unhiquidated
              o Debtor 1 and Debtor 2 only                               o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                      • Other. Specify      Credit Card


     ~4.4]
              Syncb/jcp                                                  Last 4 digits of account number       6170                                                  $0.00
              Nonpriority Creditors Name
                                                                                                               Opened 09111 Last Active
              Po Box 965007                                              When was the debt incurred?           3123116
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            o Contingent
               • Debtor 2 only                                           o Unliquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim Is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               •No                                                       o Debts to pension or profit-sharing plans, and other similar debts



    k_]
              o Yes                                                      U Other. Specty       Charge Account



              Syncbllowes                                                Last 4 dIgits of account number       9135                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 7119110 Last Active
              Po Box 956005                                              When was the debt incurred?           6117/13
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one
               0 Debtor 1 only                                           o Contingent
               • Debtor 2 only                                           o Unhiquidated
               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority daims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify      Charge Account




    Official Form 106 E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 16 of 21
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Filed 06/13/19                                                                       Case 19-12530                                                                             Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                       Case number (t known)


     _j Syncbllowes                                                        Last 4 digits of account number       1147                                                  $0.00
              Nonpriority Creditors Name
                                                                                                                 Opened 04115 Last Active
              Po Box 956005                                                When was the debt incurred?           5122116
              Orlando, FL 32896
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                             o Contingent
               • Debtor 2 only                                             o Unhiquidated
               o Debtor 1 and Debtor 2 only                                o Disputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                    o Student loans
              debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

                  No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       U   Other. Specify    Charge Account



    F
    44
         J
               Syncbllowes
               Nonpriority Creditors Name
                                                                           Last 4 digits of account number       0985                                                  $0.00

                                                                                                                 Opened 08114 Last Active
               Po Box 956005                                               When was the debt incurred?           7/13116
               Orlando, FL 32896
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                             o Contingent
               o Debtor 2 only                                             o Unhiquidated
               o Debtor 1 and Debtor 2 only                                o Disputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                    o Student loans
               debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               UNo                                                         o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       U   Other. Specify    Charge Account



    F
    4.
         j     Syncb/old Navy
               Nonpriority Creditor's Name
                                                                           Last 4 digits of account number       1843                                                  $0.00

                                                                                                                 Opened 10114 Last Active
               Po Box 965005                                               When was the debt incurred?           5116/16
               Orlando, FL 32896
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                             o Contingent
               • Debtor 2 only                                             o Unhiquidated
               o Debtor 1 and Debtor 2 only                                o Disputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               O Check if this claim is for a community                    o Student loans
               debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               • No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       • Other. Specify      Charge Account




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Filed 06/13/19                                                                     Case 19-12530                                                                             Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                     Case number (if known)


    ZVI       Syncbltoysrus
              Nonpriority Creditor's Name
                                                                         Last 4 dIgits of account number       1695                                                  $0.00

                                                                                                               Opened 03113 Last Active
              Po Box 965005                                              When was the debt incurred?           3I22/1 6
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 Only                                            o Contingent
              • Debtor 2 only                                            o Unliquidated
              o Debtor 1 and Debtor 2 only                               o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                     o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                      • Other. Specify      Charge Account


    4.5
              Id Bank Usaltargetcred                                     Last 4 digits of account number       9573                                              $543.00
              Nonpriority Creditor's Name
                                                                                                               Opened 11115 Last Active
              Po Box 673                                                 When was the debt incurred?           3106116
              Minneapolis, MN 55440
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            o Contingent
              • Debtor 2 only                                            o Unliquidated
              o Debtor 1 and Debtor 2 only                               o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                     o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                      • Other. Specify      Credit Card



    4IEEI1    Thdlcbna
              Nonpriority Creditor's Name
                                                                         Last 4 digits of account number       9289                                            $4,853.00

                                                                                                               Opened 07/07 Last Active
              Po Box 6497                                                When was the debt Incurred?           5122116
              Sioux Falls, SD 57117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor I only                                            o Contingent
              • Debtor2 only                                             o Unliquidated
              o Debtor 1 and Debtor 2 only                               o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              o Check if this claim Is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              * No                                                       o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                      • Other. Specify      Charge Account




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Filed 06/13/19                                                                        Case 19-12530                                                                              Doc 1
    Debtor 1       Marco A. Franco
    Debtor 2       Sonia Ruano                                                                                   Case number (known)


    4.5
               The Bureaus Inc                                               Last 4 digits of account number       0630                                             $1,279.00
               Nonprionty Creditors Name
               1717 Central St                                               When was the debt incurred?           Opened 12/16
               Evanston, IL 60201
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0 Debtor 1 Only                                               o Contingent
               • Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify     Collection Attorney Capital One N.A.



                                                                                                                    1567
    k_i        The Bureaus Inc
               Nonpriority Creditor's Name
                                                                             Last 4 digits of account number                                                          $504.00

               1717 Central St                                               When was the debt incurred?           Opened 03117
               Evanston, IL 60201
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor I only                                               o Contingent
               o Debtor 2 Only                                               O   unliquidated
               o Debtor 1 and Debtor 2 only                                  o Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify     Collection Attorney Capital One N.A.


    F
    45 ]
               Tnb - Target                                                  Last 4 digits of account number       5129                                                   $0.00
               Nonpriority, Creditors Name
                                                                                                                   Opened 08/07 Last Active
               Po Box 673                                                    When was the debt incurred?           2/20108
               Minneapolis, MN 55440
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one
               0   Debtor 1 only                                             o Contingent
               • Debtor 2 only                                               o Unliquidated
               o Debtor 1 and Debtor 2 only                                  o DIsputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                      o Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify     Charge Account




    Official Form 106 E/F                                        Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 19 of 21
    Software Copyright   (C)   1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 06/13/19                                                                        Case 19-12530                                                                             Doc 1
    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                         Case number (ir known)


    F
    4.5
             Tnb - Target
              Nonpriority Creditors Name
                                                                             Last 4 digits of account number       0361                                                     $0.00

                                                                                                                   Opened 06107 Last Active
              Po Box 673                                                     When was the debt incurred?           8116107
              Minneapolis, MN 55440
              Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
             Who Incurred the debt? Check one.

              • Debtor I only                                                o Contingent
              o Debtor 2 Only                                                o Unhiquidated
              o Debtor 1 and Debtor 2 only                                   o Disputed
              o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                       o Student loans
              debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                report as priority claims

              • No                                                           o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                          • Other. Specify      Charge Account



    F
    4.5
              Wells Fargo Dealer Svc
              Nonpriority Creditor's Name
                                                                             Last 4 digits of account number        3200                                                    $0.00

                                                                                                                    Opened 08108 Last Active
              Po Box 10709                                                   When was the debt incurred?            5104110
              Raleigh, NC 27605
              Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.

              • Debtor 1 only                                                O Contingent
              o Debtor 2 only                                                0 Unliquidated
              o Debtor 1 and Debtor 2 only                                   o Disputed
              o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

              o Check if this claim is for a community                       o Student loans
              debt                                                           O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                report as priority claims

              • No                                                           0 Debts to pension or profit-sharing plans, and other similar debts

              DYes                                                           • Other. Specify      Automobile


    IFfl1r        List Others to Be Notified About a Debt That You Already Listed                                                                                       -
    S. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed In Parts I or 2. For example, if a collection agency
       Is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts I or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts I or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

    •FThri       Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information Is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.
                                                                                                                                           Total Claim
                                6a.   Domestic support obligations                                                   6a.       $                         0.00
            Total
          claims
      from Part I               6b.   Taxes and certain other debts you owe the government                                     $                         0.00
                                      Claims for death or personal Injury while you were intoxicated                 6c.       $                         0.00
                                6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.       $                         0.00

                                      Total Priority. Add lines 6a through 6d.                                       Be.       $                         0.00

                                                                                                                                           Total Claim
                                      Student loans                                                                  6f.       $                         0.00
             Total
           claims


    Official Form 106 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 21
    Software Copyright   (C)   1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 06/13/19                                                                   Case 19-12530                                                         Doc 1
    Debtor I     Marco A. Franco
    Debtor 2     Sonia Ruano                                                                           Case number (if

     from Part 2            6g. Obligations arising out of a separation agreement or divorce that
                                 you did not report as priority claims                                           $             0.00
                            6h. Debts to pension or profit-sharing plans, and other similar debts                $             0.00
                            61. Other. Add all other nonpriority unsecured claims. Write that amount     61.
                                 here.                                                                           $       292,171.00

                            6j.   Total Nonpriority. Add lines 61' through 61.                           6j.     $       292,171.00




    Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                             Page 21 of 21
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Filed 06/13/19                                                                     Case 19-12530                                                                    Doc 1


    Debtor 1                 Marco A. Franco
                             First Name                         Middle Name              Last Name

    Debtor 2                 Sonia Ruano
    (Spouse if, filing)      First Name                         Middle Name              Last Name


    United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number
    (if known)                                                                                                                           Check if this is an
                                                                                                                                     O
                                                                                                                                         amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12115
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (f known).

            Do you have any executory contracts or unexpired leases?
            • No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            o  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Properly (Official Form 106 NB).

    2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
         example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
         and unexpired leases.


             Person or company with whom you have the contract or lease                    State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code
      2.1
                Name


                Number     Street

                City                                   State                  ZIP Code
      2.2
                Name


                Number     Street

                City                                   State                  ZIP Code
      2.3
                Name


                Number     Street

                City                                   State                  ZIP Code
      2.4
                Name


                Number     Street

                City                                   State                  ZIP Code
      2.5
                Name


                Number     Street

                City                                   State                  ZIP Code




    Official Form 106G                               Schedule C: Executory Contracts and Unexpired Leases                                                Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                              Best Case Bankruptcy
Filed 06/13/19                                                                       Case 19-12530                                                                    Doc 1


    Debtor 1                   Marco A. Franco
                               First Name                             Middle Name           Last Name

    Debtor 2                   Sonia Ruano
    (Spouse if, filing)        First Name                             Middle Name           Last Name


    United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number
    (if known)                                                                                                                         o   Check if this is an
                                                                                                                                           amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                              12115


    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

              Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

              No
          o Yes
            Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
          Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          o No. Go to line 3.
          • Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


                    • No
                    o Yes.
                           In which community state or territory did you live?              -NONE-          . Fill in the name and current address of that person.


                           Name of your spouse, former spouse, or legal equivalent
                           Number, Street, City, State & Zip Code


          In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule ElF (Official Form I06EIF), or Schedule G (Official Form 106G). Use Schedule D, Schedule ElF, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                   Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:


       IiiiJ        Name
                                                                                                            0 Schedule 0, line
                                                                                                            0 Schedule ElF, line
                                                                                                            0 Schedule G, line
                    Number             Street
                    City                                      State                          ZIP Code




                                                                                                            o Schedule D, line
                    Name
                                                                                                            o Schedule E/F, line
                                                                                                            o Schedule G, line
                    Number             Street
                    City                                      State                          ZIP Code




    Official Form 106H                                                                  Schedule H: Your Codebtors                                       Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
Filed 06/13/19                                                        Case 19-12530                                                                                      Doc 1




    Debtor 1                      Marco A. Franco

    Debtor 2                      Sofia Ruano
    (Spouse, if filing)


    United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number                                                                                                Check if this is:
    (If known)
                                                                                                                o An amended filing
                                                                                                                o A supplement showing postpetition chapter
                                                                                                                  13 income as of the following date:

    OfficEal Form 1061                                                                                              IVIIVI I I.ILII I I I I



    Schedule I: Your Income                                                                                                                                       12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, Include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

    Ifli                  Describe Employment

     1. Fill in your employment                                         I
          information.                                                      Debtor I                                    Debtor 2 or non-filing spouse

            If you have more than one job,                                  * Employed                                  U   Employed
            attach a separate page with          Employment status
            information about additional                                    0   Not employed                            0   Not employed
            employers.
                                                 Occupation                 Forklift Driver                            Hotel house keeper
            Include part-time, seasonal, or
            self-employed work.                  Employer's name            Tessenderlo Kerley                          LA Quinta Inn and Suites

            Occupation may include student       Employer's
                                                              address 2255 N 44th St.                                  3I4NGSt
            or homemaker, if it applies.
                                                                        Phoenix, AZ 85008                              Madera, CA 93637

                                                 How long employed there?              7 years                                     6 years

    IIIi                  Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                             IFor Debtor I                 For Debtor 2 or
                                                                                                                                           non.filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
            deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $           4,530.00               $         1,493.00

            Estimate and list monthly overtime pay.                                                    --$             350.00              4          176.00

            Calculate gross Income. Add line 2 + line 3.                                                $        4,880                 1       $   1,669.00




    Official Form 1061                                                           Schedule I: Your Income                                                        page 1
Filed 06/13/19                                                        Case 19-12530                                                                                 Doc 1


    Debtor 1   Marco A. Franco
    Debtor 2   Sofia Ruano                                                                            Case number (if known)



                                                                                                       f77
                                                                                                       or bebtor I - ' For Debtor 1T
                                                                                                                               non-filing spouse
         Copy line 4 here                                                                      4.      $          4,880.00     $         1,669.00

    5. List all payroll deductions:
                Tax, Medicare, and Social Security deductions                                              $       939.00      $268.00
                Mandatory contributions for retirement plans                                               $         0.00      $0.00
                Voluntary contributions for retirement plans                                               $         0.00      $    0.00
                Required repayments of retirement fund loans                                               $       253.00      $0.00
                Insurance                                                                                  $       128.00      $0.00
                Domestic support obligations                                                   51.  $                0.00      $    0.00
                Union dues                                                                     5g.  $                0.00      $    0.00
                Other deductions. Specify:                                                     5h.+ $                0.00 +    $0.00
    6.   Add the payroll deductions. Add lines 5a+5b+5c4-5d+5e+5f+5g+5h.                               $          1,320.00     $             268.00
    7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                           $          3,560.00     $         1,401.00
    8. List all other income regularly received:
                 Net income from rental property and from operating a business,
                 profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the total
                monthly net income.                                                                        $0.00               $                  0.00
                Interest and dividends                                                                     $   0.00            $                  0.00
                Family support payments that you, a non-filing spouse, or a dependent
                regularly receive
                Include alimony, spousal support, child support, maintenance, divorce
                settlement, and property settlement.                                                       $          0.00     $                  0.00
                Unemployment compensation                                                                  $          0.00     $                  0.00
                Social Security                                                                            $          0.00     $                  0.00
                Other government assistance that you regularly receive
                Include cash assistance and the value (if known) of any non-cash assistance
                that you receive, such as food stamps (benefits under the Supplemental
                Nutrition Assistance Program) or housing subsidies.
                Specify:                                                                            $                 0.00     $                  0.00
                Pension or retirement income                                                        $                 0.00     $                  0.00
                Other monthly income. Specify:                                                 8h.+ $                 0.00 + $                    0.00

         Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     Is              0.o0     $                   0.00


         Calculate monthly income. Add line 7 + line 9.                                       10. $            3560.0!41$                                 4,961.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                                                   1.401.00H$

         State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                     0.00

         Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                       12.    $           4,961.00

                                                                                                                                             Combined
                                                                                                                                             monthly income
          Do you expect an increase or decrease within the year after you file this form?
          •     No.
          o      Yes. Explain:                                                                                                                                      1




    Official Form 1061                                                      Schedule I: Your Income                                                        page 2
Filed 06/13/19                                                                 Case 19-12530                                                                         Doc 1




      Debtor I                Marco A. Franca                                                                       Check if this is:
                                                                                                                    O    An amended filing
      Debtor 2                Sonia Ruano                                                                           O    A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                                13 expenses as of the following date:

      United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA                                             MM/DD/YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                 12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

                   Describe Your Household
            Is this a joint case?
             o No. Go to line 2.
             • Yes. Does Debtor 2 live in a separate household?

                       • No
                       o Yes. Debtor 2 must file Official Form 106J-2,        Expenses for Separate Household of Debtor 2.

            Do you have dependents?           0   No
            Do not list Debtor 1 and
            Debtor 2.
                                              •   Yes
                                                           Fill out this information for
                                                           each dependent ..............
                                                                                           Dependent's relationship to
                                                                                           Debtor I or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                               Does dependent
                                                                                                                                               live with you?

            Do not state the                                                                                                                   0    No
            dependents names.                                                              Son                                6                U    Yes
                                                                                                                                               o No
                                                                                           Daughter                           14               U    Yes
                                                                                                                                               DNo
                                                                                           Son                                16               •Yes
                                                                                                                                               DNo
                                                                                                                                               o Yes
            Do your expenses include                   • No
            expenses of people other than
            yourself and your dependents?              0   Yes

     ITJ!        Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 1061.)                                                                                                         Your expenses


             The rental or home ownership expenses for your residence. Include first mortgage
             payments and any rent for the ground or lot.                                                           4. $                            1,155.00

             If not included in line 4:

                Real estate taxes                                                                                        $                             0.00
                Property, homeowners, or renter's insurance                                                              $                           120.00
                Home maintenance, repair, and upkeep expenses                                                            $                           180.00
                Homeowner's association or condominium dues                                                              $                             0.00
      5. Additional mortgage payments for your residence, such as home equity loans                                 5. $                               0.00




     Official Form 106J                                                      Schedule J: Your Expenses                                                          page 1
Filed 06/13/19                                                             Case 19-12530                                                                                   Doc 1

      Debtor 1    Marco A. Franco
      Debtor 2    Sonia Ruano                                                                               Case number (if known)


      6.   Utilities:
           6a.    Electricity, heat, natural gas                                                                  6a. $                                 700.00
           6b.    Water, sewer, garbage collection                                                                       $                              120.00
                  Telephone, cell phone, Internet, satellite, and cable services                                  6c. $                                 175.00
           6d.    Other. Specify:                                                                                6d. $                                      0.00
      7.   Food and housekeeping supplies                                                                          7. $                                 750.00
      8.   Childcare and children's education costs                                                                 8.   $                               60.00
      9.   Clothing, laundry, and dry cleaning                                                                      9. $                                 85.00
      10.  Personal care products and services                                                                     10. $                                  10.00
      11.  Medical and dental expenses                                                                             11. $                                200.00
      12. Transportation. Include gas, maintenance, bus or train fare.
          Do not include car payments.                                                           12. $                                                  700.00
      13. Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                      0.00
      14. Charitable contributions and religious donations                                       14. $                                                    40.00
      15. Insurance.
          Do not include insurance deducted from your pay or included in lines 4 or 20.
          15a. Life insurance                                                                  15a. $                                                    50.00
          15b. Health insurance                                                                       $                                                 460.00
                 Vehicle insurance                                                              15c. $                                                  156.00
          15d. Other insurance. Specify:                                                      15d. $                                                        0.00
      16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
          Specify:                                                                             16. $                                                        0.00
      17. Installment or lease payments:
          17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
          1 7b. Car payments for Vehicle 2                                                     1 7b. $                                                      0.00
          17c. Other. Specify:                                                                 17c. $                                                       0.00
          17d. Other. Specify:                                                                 17d. $                                                       0.00
      18. Your payments of alimony, maintenance, and support that you did not report as
          deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).        18. $                                                      0.00
      19. Other payments you make to support others who do not live with you.                         $                                                     0.00
          Specify:
          Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
          20a. Mortgages on other property                                                     20a. $                                                       0.00
          20b. Real estate taxes                                                                      $                                                     0.00
                 Property, homeowner's, or renter's insurance                                   20c. $                                                      0.00
          20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
          20e. Homeowner's association or condominium dues                                     20e. $                                                       0.00
      21. Other: Specify:                                                                      21. +$                                                       0.00

      22. Calculate your monthly expenses
              Add lines 4 through 21.                                                                                        $                     4,961.00
              Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                $
                 Add line 22a and 22b. The result is your monthly expenses.                                                  $                     4,961.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,961.00
          23b. Copy your monthly expenses from line 22c above.                                                        -$                              4,961.00

                  Subtract your monthly expenses from your monthly income.
                  The result is your monthly net income.                                                         23c. $                                     0.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
           For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
           modification to the terms of your mortgage?
           •No.
           o Yes.              Explain here:




     Official Form 1 06J                                                 Schedule J: Your Expenses                                                                     page 2
Filed 06/13/19                                                                     Case 19-12530                                                                             Doc 1




    Debtor I                        Marco A. Franco
                                    First Name                       Middle Name              Last Name

    Debtor 2                        Sonia Ruano
    (Spouse if, filing)             First Name                       Middle Name              Last Name


    United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number
    (if known)
                                                                                                                                             0 Check if this is an
                                                                                                                                                 amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                               12115

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                            in Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            • No

            o      Yes. Name of person                                                                                     Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                           Declaration, and Signature (Official Form 119)


          Under penalty of pequry, I declare that I have read the summary and schedules filed with this declaration and
          that they are true and correct.

                     McArcc) R c:ccxr\CcD
                 Marco A. Franco
                                                                                               x
                                                                                                   Sonia Ftuano
                                                                                                                                   1W/flf
                 Signature of Debtor 1                                                             Signature of Debtor 2

                 Date           May 31. 2019                                                       Date   May 31,2019




    Official Form 1 O6Dec                                            Declaration About an Individual Debtor's Schedules
    Software Copyright    (C)   I 996-2019 Best Case, LLC - wwwbestcase.com                                                                                Best Case Bankruptcy
Filed 06/13/19                                                                 Case 19-12530                                                                                 Doc 1




    Debtor 1                 Marco A. Franco
                             First Name                        Middle Name                  Last Name

    Debtor 2                 Sonia Ruano
    (Spouse if, filing)      First Name                        Middle Name                  Last Name


    United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number
    (if known)                                                                                                                                O   Check if this is an
                                                                                                                                                  amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

    •Th             Give Details About Your Marital Status and Where You Lived Before

          What is your current marital status?

          • Married
          o       Not married

          During the last 3 years, have you lived anywhere other than where you live now?

          • No
          o       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor I Prior Address:                                 Dates Debtor I             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                    lived there                                                                       lived there

          Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and temtories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

          • No
           o      Yes. Make sure you fill out Schedule H. Your Codebtors (Official Form 1 06H).

    irn'            Explain the Sources of Your Income

          Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
          If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           • No
           o  Yes. Fill in the details.

                                                       Debtor I                                                       Debtor 2
                                                       Sources of income                Gross income                  Sources of income               Gross income
                                                       Check all that apply.            (before deductions and        Check all that apply.           (before deductions
                                                                                        exclusions)                                                   and exclusions)




    Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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    Debtor I      Marco A. Franco
    Debtor 2      Sonia Ruano                                                                                   Case number       (if known)



    5. Did you receive any other income during this year or the two previous calendar years?
         Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
         and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
         winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

         List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
          o     Yes. Fill in the details.

                                                       Debtor I                                                        Debtor 2
                                                       Sources of income                 Gross income from             Sources of income       Gross income
                                                       Describe below.                   each source                   Describe below.         (before deductions
                                                                                         (before deductions and                                and exclusions)
                                                                                         exclusions)

    ITh1         List Certain Payments You Made Before You Filed for Bankruptcy

         Are either Debtor l's or Debtor 2's debts primarily consumer debts?
         0 No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                        individual primarily for a personal, family, or household purpose."

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         o   No.       Go to line 7.
                         o   Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attomey for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          • Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         • No.         Go to line 7.
                         o   Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditors Name and Address                               Dates of payment             Total amount          Amount you Was this payment for
                                                                                                         paid            still owe

         Within I year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
         Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

          • No
          o  Yes. List all payments to an insider.
           Insider's Name and Address                               Dates of payment             Total amount          Amount you Reason for this payment
                                                                                                         paid            still owe

          Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
          o     Yes. List all payments to an insider
           Insider's Name and Address                               Dates of payment             Total amount          Amount you Reason for this payment
                                                                                                         paid            still owe Include creditor's name




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
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    Debtor 1      Marco A. Franco
    Debtor 2      Sofia Ruano                                                                                   Case number (if known)


    inr
      .          Identify Legal Actions, Repossessions, and Foreclosures

    9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
        List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
        modifications, and contract disputes.

          o    No
          • Yes. Fill in the details.
          Case title                                                Nature of the case          Court or agency                          Status of the case
          Case number
          Midland Funding v Franco                                  collections                 Madera County Courthouse                 • Pending
          Marco Franco                                                                          200 South G St                           o  On appeal
                                                                                                Madera, CA 93637
          Midland Funding LLC
                                                                                                                                         o  Concluded

          MCV080531


    10, Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

          U    No.Gotolinell.
          o    Yes. Fill in the information below.
          Creditor Name and Address                                 Describe the Property                                         Date                        Value of the
                                                                                                                                                                 property
                                                                    Explain what happened

          Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
          accounts or refuse to make a payment because you owed a debt?
                No
          o     Yes. Fill in the details.
          Creditor Name and Address                                 Describe the action the creditor took                         Date action was                 Amount
                                                                                                                                  taken

          Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
          court-appointed receiver, a custodian, or another official?

          UNo
          o Yes

    ORM List Certain Gifts and Contributions

          Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
          o     Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
           per person                                                                                                             the gifts

          Person to Whom You Gave the Gift and
          Address:

          Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          •No
          o Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, CIty, State and ZIP code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3

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    Debtor 1       Marco A. Franco
    Debtor 2       Sofia Ruano                                                                                     Case number        (if known)



    10IT-M        List Certain Losses

         Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
         or gambling?

          UNO
          o     Yes. Fill in the details.
           Describe the property you lost and                      Describe any insurance coverage for the loss                          Date of your      Value of property
           how the loss occurred                                                                                                         loss                           lost
                                                                   Include the amount that insurance has paid. List pending
                                                                   insurance claims on line 33 of Schedule A/B: Property.

                  List Certain Payments or Transfers

         Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
         consulted about seeking bankruptcy or preparing a bankruptcy petition?
         Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          ONo
          • Yes. Fill in the details.
           Person Who Was Paid                                               Description and value of any property                       Date payment              Amount of
           Address                                                           transferred                                                 or transfer was            payment
           Email or website address                                                                                                      made
           Person Who Made the Payment, if Not You
           Clay Presley                                                      1000                                                        4-19                      $1,000.00
           818 N Mountain Ave Ste 101
           Upland, CA 91786
           claypresley@yahoo.com


          Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
          promised to help you deal with your creditors or to make payments to your creditors?
          Do not include any payment or transfer that you listed on line 16.

                No
          o     Yes. Fill in the details.
           Person Who Was Paid                                               Description and value of any property                       Date payment              Amount of
           Address                                                           transferred                                                 or transfer was            payment
                                                                                                                                         made

          Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
          transferred in the ordinary course of your business or financial affairs?
          Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
          include gifts and transfers that you have already listed on this statement.
          • No
          o     Yes. Fill in the details.
           Person Who Received Transfer                                      Description and value of                   Describe any property or           Date transfer was
           Address                                                           property transferred                       payments received or debts         made
                                                                                                                        paid In exchange
           Person's relationship to you

          Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
          beneficiary? (These are often called asset-protection devices.)
                No
          o     Yes. Fill in the details.
           Name of trust                                                     Description and value of the property transferred                             Date Transfer was
                                                                                                                                                           made




    Official Form 107                                          Statement of Financial AffaIrs for Individuals FilIng for Bankruptcy                                       page 4
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    Debtor 1 Marco A. Franco
    Debtor 2 Sofia Ruano                                                                                             Case number   (if known)



    I1L           List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

         Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
         sold, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
         houses, pension funds, cooperatives, associations, and other financial institutions.
          UNo
          o Yes. Fill in the details.
          Name of Financial Institution and                          Last 4 digits of              Type of account or          Date account was         Last balance
          Address (Number. Street, City, State and ZIP               account number                instrument                  closed, sold,        before closing or
          Code)                                                                                                                moved, or                     transfer
                                                                                                                               transferred

          Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
          cash, or other valuables?

          • No
          o  Yes. Fill in the details.
          Name of Financial Institution                                   Who else had access to it?                 Describe the contents           Do you still
          Address (Number, Street, City, State and ZIP Code)              Address (Number, Street; City,                                             have it?
                                                                          State and ZIP Code)


          Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          •No
          0     Yes. Fill in the details.
           Name of Storage Facility                                      i Who else has or had access                Describe the contents           Do you still
           Address (Number, Street, City, State and ZIP Code)             to it?                                                                     have it?
                                                                          Address (Number, Street City,
                                                                          State and ZIP Code)

    Iflis         Identify Property You Hold or Control for Someone Else

          Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
          for someone.

          •No
          o     Yes. Fill in the details.
          Owner's Name                                                    Where is the property?                     Describe the property                       Value
          Address (Number, Street, City, State and ZIP Code)              (Number, Street, City, State and ZIP
                                                                          Code)


    •flts Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

    • Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
        toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
        regulations controlling the cleanup of these substances, wastes, or material.
    • Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
       to own, operate, or utilize it, including disposal sites.
    • Hazardous material means anything an environmóntal law defines as a hazardous waste, hazardous substance, toxic substance,
        hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

          Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          • No
          o  Yes. Fill in the details.
           Name of site                                                   Governmental unit                             Environmental law, if you    Date of notice
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                          ZIP Code)




    Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5

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    Debtor 1 Marco A. Franco
    Debtor 2 Sonia Ruano                                                                                              Case number   (if known)



         Have you notified any governmental unit of any release of hazardous material?

         U     No
         o     Yes. Fill in the details.
          Name of site                                                   Governmental unit                               Environmental law, if you             Date of notice
          Address (Number, Street, City, State and ZIP Code)             Address (Number, Street,   City, State and      know it
                                                                         ZIP Code)


         Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

         UNo
         o Yes. Fill in the details.
          Case Title                                                     Court or agency                              Nature of the case                       Status of the
          Case Number                                                    Name                                                                                  case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)


    ITI          Give Details About Your Business or Connections to Any Business

         Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                o A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                o A member of a limited liability company (LLC) or limited liability partnership (LLP)
                o A partner in a partnership
                o An officer, director, or managing executive of a corporation
                o An owner of at least 5% of the voting or equity securities of a corporation
          • No. None of the above applies. Go to Part 12.

          o    Yes. Check all that apply above and fill in the details below for each business.
          Business Name                                              Describe the nature of the business                  Employer Identification number
          Address                                                                                                         Do not include Social Security number or ITIN.
          (Number, Street, City, State and ZIP Code)                 Name of accountant or bookkeeper
                                                                                                                          Dates business existed

         Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
         institutions, creditors, or other parties.

          • No
          o     Yes. Fill in the details below.
          Name                                                       Date Issued
          Address
          (Number, Street, City, State and ZIP Code)

    IThP         Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152,1341, 1519, and 3571.

        MO ('cO
    Marco A. Franco
                                         ~foft C Aw                          Sonia Ruano
                                                                                                                               1fJ
    Signature of Debtor I                                                    Signature of Debtor 2

     Date May 31, 2019                                                       Date May 31, 2019

    Did you attach additional pages to Your Statement of Financial                   Affairs   for Individuals Filing for Bankruptcy (Official Form 107)?
     No
    DYes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
    • No
    o Yes. Name of Person                  .   Attach the Bankruptcy Petition   Preparer's Notice, Declaration, and Signature           (Official Form 119).
    Official Form 107                                      Statement of Financial Affairs   for Individuals Filing for Bankruptcy                                           page 6

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    Debtor I      Marco A. Franco
    Debtor 2      Sonia Ruano                                                                                  Case number (,t known)




    Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 7
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     Debtor 1              Marco A. Franco
     Debtor 2              Sofia Ruano                                                                      U     1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                                    The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the: Eastern District of California
                                                                                                                     applies will be made under Chapter 7 Means Test
                                                                                                                     Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                     The Means Test does not apply now because of
                                                                                                                     qualified military service but it could apply later.

                                                                                                             0 Check if this is an amended filing

    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12/15

    Be as complete and accurate as possible. If two manled people are filing together, both are equally responsible for being accurate. If more space is needed,
    aftach a separate sheet to this form. Include the line number to which the additional Information applies. On the top of any addItional pages, wrIte your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b) (2) (Official Form 122A-11Supp) with this form.

                       Calculate Your Current Monthly Income

       1. What is your marital and filing status? Check one only.
             0 Not married. Fill out Column A, lines 2-11.
             • Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             o Married and your spouse is NOT filing with you. You and your spouse are:
              o Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              o Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                      penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                      living apart for reasons that do not include evading the Means Test requirements. 11 U.S.0 § 707(b)(7)(B).
         Fill In the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
         1101(110A). For example, if you are filing on September 15, the 6-month period would be March 1 through August31. If the amount of your monthly income varied during
         the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
         spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                              Column A                  Column B
                                                                                                              Debtor I                  Debtor 2 or
                                                                                                                                        non-filing spouse
            Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
            payroll deductions).                                                           $                             4,530.00       $         1,893.00
            Alimony and maintenance payments. Do not include payments from a spouse if
            Column B is filled in.                                                                            $               0.00      $              0.00
            All amounts from any source which are regularly paid for household expenses
            of you or your dependents, including child support. Include regular contributions
            from an unmarried partner, members of your household, your dependents, parents,
            and roommates. Include regular contributions from a spouse only if Column B is not
            filled in. Do not include payments you listed on line 3.                                          $               0.00      $              0.00
            Net income from operating a business, profession, or farm
                                                                               Debtor I
            Gross receipts (before all deductions)                           $       0.00
            Ordinary and necessary operating expenses                        -$      0.00
             Net monthly income from a business, profession, or farm $               0.00    Copy here -> $                   0.00      $              0.00
             Net income from rental and other real property
                                                                                       Debtor I
             Gross receipts (before all deductions)                          $       0.00
             Ordinary and necessary operating expenses                       -$      0.00
             Net monthly income from rental or other real property           $       0.00    Copy here -> $                   0.00      $              0.00
             Interest, dividends, and royalties                                                               $               0.00      $              0.00




    Official Form 1 22A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Filed 06/13/19                                                             Case 19-12530                                                                                        Doc 1
     Debtor 1
                  Marco A. Franco
     Debtor 2     Sofia Ruano                                                                                Case number (if known)




                                                                                                         Column A                      Column B
                                                                                                         Debtor I                      Debtor 2 or
                                                                                                                                       non-filing spouse
           Unemployment compensation                                                                     $                  0.00       $            0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                    0.00
                For your spouse                                        $                      0.00
           Pension or retirement income. Do not include any amount received that was a
           benefit under the Social Security Act.                                                        $                  0.00       $            0.00
           Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act or payments
           received as a victim of a war crime, a crime against humanity, or intemational or
           domestic terrorism. If necessary, list other sources on a separate page and put the
           total below.
                                                                                                         $                  0.00       $            0.00
                                                                                                         $0.00 $                                    0.00
                       Total amounts from separate pages, if any.                                    + $                    0.00       $            n-nfl

           Calculate your total current monthly income. Add lines 2 through 10 for
           each column. Then add the total for Column A to the total for Column B.               $     4,530.00               $       1,893.00          $      6,423.00

                                                                                                                                                        Total current monthly
                                                                                                                                                        income

                      Determine Whether the Means Test Applies to You

           Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>              $6,423.00

                  Multiply by 12 (the number of months in a year)                                                                                           x 12
           1 2b. The result is your annual income for this part of the form                                                                   12b. $          77,076.00

           Calculate the median family income that applies to you.Follow thesesteps:

           Fill in the state in which you live.                                  CA

           Fill in the number of people in your household.                        4
           Fill in the median family income for your state and size of household.                                                             13.   $         96,813.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk's office.
           How do the lines compare?
                      U    Line I 2b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                           Goto Part 3.
                      0    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A-2.
                      Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                  x       4Q1Cr)
                      Marco A. ranco
                                                     cU\CO                                    xyO1Lv1krj
                                                                                               Sofia Ruano
                      Signature of Debtor 1                                                    Signature of Debtor 2
                Date May 31, 2019                                                       Date May 31, 2019
                     MM/DD/YYYY                                                              MM/DD/YVYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.



    Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Filed 06/13/19                                                               Case 19-12530                                                                  Doc 1



    Debtor 1                 Marco A. Franco
                             First Name                        Middle Name                 Last

    Debtor 2                 Sonia Ruano
    (Spouse if, filing)      First Name                        Middle Name                 Last Name


    United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

    Case number
    (if known)
                                                                                                                           o    Check if this is an
                                                                                                                                amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
    • creditors have claims secured by your property, or
    • you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
             whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
             on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct Information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

    ITi            List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part I of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
    r   Identify the creditor and the property that Is collateral  What do you intend to do with the property that     Did you claim the property
                                                                                                                       as exempt on Schedule C?

        Creditor's                                                           0    Surrender the property.                  0   No
        name:                                                                0    Retain the property and redeem it.
                                                                             o    Retain the property and enter into a     0   Yes
        Descnption of                                                             Reaffirmation Agreement.
        property                                                             0    Retain the property and [explain]:
        securing debt:

        Creditor's                                                           0    Surrender the property.                  0   No
        name:                                                                 0   Retain the property and redeem it.
                                                                             .0   Retain the property and enter into a     0 Yes
        Description of                                                            Reaffirmation Agreement.
        property                                                             0    Retain the property and [explain]:
        securing debt:

        Creditor's                                                           0    Surrender the property.                  0   No
        name:                                                                0    Retain the property and redeem it.
                                                                             0    Retain the property and enter into a     0 Yes
        Description of                                                            Reaffirmation Agreement.
        property                                                             0    Retain the property and [explain]:
        securing debt:


                                                                             0    Surrender the property.                  0   No



    Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                              page 1

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Filed 06/13/19                                                                Case 19-12530                                                                           Doc 1

    Debtor 1       Marco A. Franco
    Debtor 2       Rnnia Runn                                                                             Case number   (if known)



       name:                                                                 o Retain the property and redeem it.                        0 Yes

       Description of
                                                                             o Retain the property and enter into a
                                                                               Reaffirmation Agreement.
       property                                                              o Retain the property and [explain]:
       securing debt:



   ITi        List Your Unexpired Personal Property Leases
   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still In effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

   [Desvdbeyour unexpired personal property leases                                                                                   Will the ase be assumed?

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    Lessors name:                                                                                                                    0 No
    Description of leased
    Property:                                                                                                                        0 Yes

    IlTiU          Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

                1 g(cç                              c                                   X                 A
            Marco A. Franco                                                                 Sofia uano
            Signature of Debtor 1                                                           Signature of Debtor 2

            Date       May 31, 2019                                                     Date     May 31, 2019




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                       page 2

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Filed 06/13/19                                                                   Case 19-12530                                                                         Doc 1
    B2030 (Form 2030) (12/15)
                                                                      United States Bankruptcy Court
                                                                            Eastern District of California
                     Marco A. Franco
         In re       Sofia Ruano                                                                                       Case No.
                                                                                         Debtor(s)                     Chapter       7

                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
              Pursuant to 11 U .S.C. § 3 29(a) and Fed. Bankr. P. 20 16(b), I certify that I am the attorney for the above named debtor(s) and that
              compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
              be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                      For legal services, I have agreed to accept                                                  $                     1,000.00
                      Prior to the filing of this statement I have received                                        $                     1,000.00
                      Balance Due                                                                                  $                         0.00

    2. The source of the compensation paid to me was:
                      • Debtor             0 Other (specify):

    3.         The source of compensation to be paid to me is:
                      • Debtor             0 Other (specify):

    4.           • I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                 o   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                     copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

        5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                     [Other provisions as needed]
                          Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                          reaffirmation agreements and applications as needed;

    6.        By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                          Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                          any otner aaversary proceeding.
                                                                                  CERT        TION
         I certify that the foregoing is a complete statement of any ntforaymeomorepresentation of the debtor(s) in
    I   this bankruptcy proceeding.

             May 31, 2019
             Date                                                                        Clay Presley
                                                                                         Signature ofAttorney                                                            I
                                                                                         The Law Office of Clay E. Presley
                                                                                         818 N Mountain ste 101                                                          I
                                                                                         Upland, CA 91786
                                                                                         909-856-7455
                                                                                         claypresley(yahoo.com                                                           I
                                                                                         Name of law firm




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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:        Liquidation
     This notice is for you if:
                                                                                                      $245 filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $75 administrative fee

            Your debts are primarily consumer debts.                                          +        $15 trustee surcharqe
            Consumer debts are defined in ii U.S.C.
            § 101(8) as "incurred by an individual                                                    $335 total fee
            primarily for a personal, family, or
            household purpose."                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their nonexempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                        for family farmers or                                                 certain kinds of improper conduct described in the
                        fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                        for individuals with regular                                          You should know that even if you file chapter 7 and
                        income                                                                you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                    1                                      your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from                                       be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 1 22A-1) if you are an                                     as Exempt (Official Form 1 06C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A-2).
                                                                                                           $1,167 filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $550 administrative fee
     Calculation (Official Form 122A-2). The calculations on
                                                                                                           $1,717 totalfee
     the form— sometimes called the Means Test--deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Requi,ed by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2
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                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                           $200 filing fee                                                    years or 5 years, depending on your income and other
     +                      $75 administrative fee                                            factors.
                           $275 total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                           $235 filing fee                                                           debts for fraud or defalcation while acting in a
     +                      $75 administrative fee                                                   fiduciary capacity,
                           $310 totalfee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     hftp://www. uscourts.gov/bkforms/bankruptcy form                                         agency. 11 U.S.C. § 109(h). If you are filing a joint
     s. html#procedure.                                                                       case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
                                                                                              days before you file your bankruptcy petition. This
     Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                              Internet.
            If you knowingly and fraudulently conceal assets
            or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
            of perjury—either orally or in writing—in                                         must complete a financial management instructional
            connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
            fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                              course.
            All information you supply in connection with a
            bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
            Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
            U.S. Trustee, the Office of the U.S. Attorney, and                                hftp://iustice.gov/ust/eo/hapcpa/ccde/cc approved.html
                                                                                                                                       —



            other offices and employees of the U.S.
            Department of Justice.
                                                                                              In Alabama and North Carolina, go to:
     Make sure the court has your mailing address                                             hftp://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                              Ban kru ptcyResou rces/ApprovedCred it
     The bankruptcy court sends notices to the mailing                                        And DebtCounselors.aspx.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 4

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